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                                          October 30, 2020



 By ECF

 The Honorable Alison J. Nathan
 United States District Court
 Southern District of New York
 40 Foley Square, Room 2102
 New York, NY 10007

          Re: United States v. Ali Sadr Hashemi Nejad, Case No. 18-cr-224 (AJN)

 Dear Judge Nathan:

        On behalf of Defendant Ali Sadr Hashemi Nejad, we respectfully oppose the
 government’s requests to file its declarations and exhibits responding to this Court’s September
 16, 2020 disclosure order (Dkt. 379) under seal. See Dkts. 383, 384, 385, 386, 387.

         This is not a mere disciplinary proceeding, as the prosecutors suggest. Instead, it is a
 proceeding to restore confidence in the integrity of criminal prosecutions in this District, after the
 revelation of deep-seated failures by the United States Attorney’s Office to observe fundamental
 constitutional and ethical requirements. See Dkt. 379, at 1-2, 33-34. The Court has already
 recognized that the “manifold problems that have arisen throughout this prosecution ... cry out
 for a coordinated, systemic response from the highest levels of leadership within the United
 States Attorney’s Office for the Southern District of New York.” Id. at 13. The first step is
 “making a clear record of the Government’s failures in this case in an effort to prevent these
 issues from reoccurring.” Id. at 3. That record must be sufficient to assess whether the
 government’s failures were intentional. See id. at 27-31.

        Given the importance of these issues, this post-trial inquiry should be conducted in public
 view, not secrecy. The case most closely resembling this one, the Senator Ted Stevens case,
 addressed these issues in two opinions, finding that objections similar to those raised by the
 prosecutors here did not overcome the public right of access to the record under the First and
 Sixth Amendments and the common law. See In re Special Proceedings, 842 F. Supp. 2d 232
 (2012); United States v. Stevens (“Stevens I”), No. 08-cr-231 (EGS), 2008 WL 8743218 (D.D.C.
 Dec. 19, 2008). We rely on those opinions in full.
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        One of the prosecutors here argues that although the Stevens court eventually disclosed
the investigator’s final report, it allowed evidentiary submissions to be filed under seal, pursuant
to protective order. Dkt. 387-1, at 2 (citing United States v. Stevens (“Stevens II”), 715 F. Supp.
2d 1, 2 (D.D.C. 2009)). But the Stevens court allowed that procedure to protect the interests of a
whistleblower who demanded confidentiality. See Stevens II, 715 F. Supp. 2d at 2, 5-6; see also
Stevens I, 2018 WL 7843812, at *2-3. Here, there is no whistleblower. The only people ordered
to submit evidence are the prosecutors—both line and supervisory—who may have been
involved in making a submission that this Court has already found contained a misrepresentation.
That information is precisely what the public is entitled to know. See Special Proceedings, 842
F. Supp. at 235 (noting that “First Amendment access to criminal proceedings ‘serves an
important function of monitoring prosecutorial or judicial misconduct’”); Stevens, 2008 WL
8743218, at *7 (noting the public’s “strong interest in exposing substantial allegations of [law
enforcement] misconduct to the salutary effects of public scrutiny”).

        Nor has the government moved for a protective order, as in Stevens. In Stevens, the
Court tasked its investigation to an outside counsel and his law firm. It is routine, when ordering
submission of information to a private party for a judicial purpose, to enter a protective order
limiting that party’s use of the information to the prescribed purpose. 1 That information does not
become part of the judicial record until it is submitted to the Court (in whatever form submitted).

        Here, the inquiry is being conducted by the Court itself. Information submitted to the
Court for use in making judicial findings is of an entirely different character: it is the record basis
for the Court’s judicial act. As such, it is judicial material subject to the First Amendment and
common law rights of public access. See, e.g., Press-Enterprise Co. v. Sup. Ct. of Cal. (“Press-
Enterprise II”), 478 U.S. 1, 13-14 (1986); Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110,
119-20 (2d Cir. 2006).

        The Stevens court also refused to seal materials to protect the confidentiality of any
disciplinary process. It acknowledged privacy interests on behalf of those investigated, but held
they must yield to the public’s interest in monitoring prosecutorial misconduct. See Special
Proceedings, 842 F. Supp. 2d at 245-46 (citing Press-Enterprise II, 478 U.S. at 14-15); see also
Stevens, 2018 WL 8743218, at *8. The court noted, “the identity of the subjects was known
from the outset of the investigation, the matters under investigation were largely known to the
public from the outset[,] and arose from the subject attorneys’ conduct during the proceedings in
a highly-publicized criminal trial .... Under these circumstances, the opposing attorneys have not
established an interest sufficiently compelling” to overcome the constitutional right to public
access. Special Proceedings, 842 F. Supp. 2d at 246. Here, the same is true: the nature of the
information and this Court’s referral for disciplinary proceedings has already been made public
in this Court’s September 16 opinion. See Dkt. 379.


       1
         The Stevens protective order was unopposed. See, e.g., Second Amended Protective
Order, In re Special Proceedings, Misc. No. 09-mc-198-EGS, ECF 20 (D.D.C., filed Dec. 14,
2009). That consent order is not precedent for sealing evidence over defense and press
objection.
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       For all of the reasons detailed in the Stevens I and Special Proceedings opinions, which
apply with equal force here, this Court should deny the prosecutors’ requests to file their
declarations and exhibits under seal.

                                             Respectfully submitted,

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